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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                    AT INDIANAPOLIS

TRUSTEES OF THE INTERNATIONAL
PAINTERS AND ALLIED TRADES
LOCAL NO. 47 HEALTH AND WELFARE
PLAN,

       Plaintiffs,
                                                            CASE NO. 1:20-cv-1560
-vs-

MID-STATES PAINTING COMPANY, INC.,

and

JOHN A. BERGESON,

       Defendants.


                                           COMPLAINT

         1.      Plaintiffs, the Trustees of the International Painters and Allied Trades Local No. 47

 Health and Welfare Plan, are trustees of a multiemployer benefit plan and employee welfare plan.

 Defendants Mid-States Painting Company, Inc. and John A Bergeson are employers obligated to

 make contributions to the Plan based upon a contractually agreed rate so that their employees may

 participate in and receive the employee benefits of the Plan. Plaintiffs bring this action on behalf

 of the participants and beneficiaries of the Plan for the purpose of collecting contributions and

 other amounts due to the Plan and compelling an audit of Defendants’ records.

                                  JURISDICTION AND VENUE

         2.      This action arises under the Employee Retirement Income Security Act of 1974

 (“ERISA”), 29 U.S.C. § 1001, et seq. (2014). Jurisdiction is conferred upon this Court pursuant to

 ERISA §§ 502 and 515, 29 U.S.C. §§ 1132 and 1145, as this is a suit against an employer for

 failing to make required contributions to an employee benefit fund. Jurisdiction is also conferred
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upon this Court pursuant to Section 301(a) of the Labor Management Relations Act of 1947

(“LMRA”), 29 U.S.C. § 185(a), as this suit alleges violations of a collective bargaining agreement

involving an employer and labor organization.

       3.      Venue is appropriate in this Court under Section 502(e)(2) of ERISA, 29 U.S.C. §

1132(e)(2), because the Plan of which Plaintiffs are trustees is administered within the jurisdiction

of the U.S. District Court, Southern District of Indiana.

                                         THE PARTIES

       3.      Plaintiffs, the Trustees of the International Painters and Allied Trades Local No. 47

Health and Welfare Plan, are fiduciaries of a Trust Fund created pursuant to LMRA § 302(c)(5),

29 U.S.C. § 186(c)(5), and administered through a Trust Agreement. The Plan is a multiemployer

benefit plan and employee welfare plan within the meaning of ERISA §§ 3(1), (37), 29 U.S.C. §§

1002(1). The Plan is administered by a joint Board of Trustees composed of an equal number of

employee and employer representatives, as required by LMRA § 302(c)(5), 29 U.S.C § 186(c)(5),

and the Plan’s Board of Trustees is the “plan sponsor” as defined by 29 U.S.C. § 1002(16)(B)(iii).

The Plan is administered at 8901 Otis Avenue, Suite 200, Indianapolis, IN 46216.

       4.      Defendant Mid-States Painting Company, Inc. is an Indiana corporation with its

principal place of business located at 1111 East Morgan Street, Kokomo, IN 46901. Defendant

was incorporated in 2015 and administratively dissolved on July 5, 2019. At all relevant times,

Defendant was an employer as defined in LMRA § 2(2), 29 U.S.C. § 152(2) and ERISA § 3(5),

29 U.S.C. § 1002(5). Defendant was engaged in interstate commerce and affecting commerce as

defined in ERISA § 3(11) and (12), 29 U.S.C. § 1002(11) and (12).

       5.      Defendant John A. Bergeson is an individual and President and Incorporator of

Defendant Mid-States Painting Company, Inc. Following the dissolution of Mid-States Painting

Company, Inc., John Bergeson has continued the business as a sole proprietor, using the trade

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name Mid-States Painting Company. John Bergeson’s address is 111 East Morgan Street,

Kokomo, IN 46901.

                                        COMMON FACTS

        6.      At all relevant times, Defendant Mid-States Painting Company, Inc. was a party to

and agreed to abide by the terms of a Collective Bargaining Agreement (“CBA”). A true and

accurate copy of the CBA is attached hereto as Exhibit A.

        7.      Following the dissolution of Defendant’s Mid-States Painting Company, Inc.,

Defendant John Bergeson continued the business in substantially unchanged form as a

proprietorship and as a result he became bound by the CBA as a successor employer.

        8.      The terms of the CBA required Defendants to make contributions to the Plan, along

with contributions to other employee benefit plans. The CBA also binds Defendants to the terms

of the Plan’s Trust Agreement. A true and accurate copy of relevant excerpts of the Plan’s Trust

Agreement is attached as Exhibit B.

        9.      The Plan’s Trust Agreement gives Plaintiffs the authority to collect employer

contributions due to the Plan. To ensure employers remit benefit contributions in a timely and

orderly manner, Plaintiffs adopted written a written Collection Procedures. A true and accurate

copy of the Plan’s Collection Procedures is attached as Exhibit C.

        10.     Pursuant to the terms of the CBA, Trust Agreement, and Collection Procedures,

Defendants are required to make monthly contributions to the Plan on behalf of each of their

employees in an amount and under the terms set forth in the agreements.

        11.     The Plan’s Collection Procedures require Defendants to submit all monthly reports

and contributions on or before the first day of the second month after the month in which work

was performed. In the event that contributions are not made by the due date, they are delinquent

and are subject to late fees and interest.

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          12.   Pursuant to the terms of the CBA, Trust Agreement, and Collection Procedures,

Defendants may also be subjected to payroll audits as may be deemed appropriate. Defendants are

required to provide in conjunction with such audits any and all payroll records that may be required

to complete such audits. In the event a payroll audit discloses that Defendants have not paid

contributions as required, Defendants are liable for the costs of the audit.

          13.   Pursuant to the terms of the CBA, Trust Agreement, and Collection Procedures,

Defendants were selected for a payroll audit. Defendants, however, have refused to cooperate with

the audit process, despite numerous communications from Plaintiffs’ auditor and legal counsel.

                                           COUNT I
            (ERISA Section 515, 29 U.S.C. Section 1145 – Failure to Pay Contributions)

          14.   Plaintiffs reallege each averment set forth above as if fully rewritten herein.

          15.   Upon information and belief, Defendants have failed to pay the required

contributions for the month of January 2018 and all subsequent months.

          16.   Defendants’ actions are in violation of ERISA § 515, 29 U.S.C. § 1145, and

Defendants are therefore liable for delinquent contributions, liquidated damages, interest and

attorney fees and costs pursuant to ERISA § 502(a)(3) and (g)(2), 29 U.S.C. §1132(a)(3) and

(g)(2).

                                          COUNT II
                 (LMRA Section 301, 29 U.S.C. Section 185 – Breach of Contract)
                                (Failure to Pay Contributions)

          17.   Plaintiffs reallege each averment set forth above as if fully rewritten herein.

          18.   Upon information and belief, Defendants have failed to pay the required

contributions for the month of January 2018 and all subsequent months.




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       19.     Defendants’ actions are in violation of the CBA, Trust Agreement, and Collection

Procedures, and Defendants are therefore liable for delinquent contributions, liquidated damages,

interest and attorney fees and costs pursuant to LMRA § 301, 29 U.S.C. § 185.

                                        COUNT III
      (ERISA Section 515, 219 U.S.C. Section 1145 – Failure to Pay Liquidated Damages)

       20.     Plaintiffs reallege each averment set forth above as if fully rewritten herein.

       21.     Upon information and belief, Defendants have failed to pay the required

contributions for the month of January 2018 and all subsequent months. As a result, Plaintiffs are

entitled to late fees and interest from their respective due dates.

       22.     Defendants’ actions are in violation of ERISA § 515, 29 U.S.C. § 1145, and

Defendants are therefore liable for liquidated damages and interest pursuant to ERISA § 502(a)(3),

29 U.S.C. §1132(a)(3).

                                        COUNT IV
                    (LMRA Section 301, 29 U.S.C. 185 – Breach of Contract)
                           (Failure to Pay Liquidated Damages)

       23.     Plaintiffs reallege each averment set forth above as if fully rewritten herein.

       24.     Upon information and belief, Defendants have failed to pay the required

contributions for the month of January 2018 and all subsequent months. As a result, Plaintiffs are

entitled to late fees and interest from their respective due dates.

       25.     Defendants’ actions are in violation of CBA, Trust Agreement, and Collection

Procedures, and Defendants are therefore liable for liquidated damages and interest pursuant to

LMRA § 301, 29 U.S.C. § 185.

                                           COUNT V
       ERISA § 502(g)(2)(E), 29 U.S.C. § 1132(G)(2)(E)—Order Compelling Payroll Audit

       26.     Plaintiffs reallege each averment set forth as if fully rewritten herein.




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       27.       Despite repeated demands to do so, Defendants have failed to submit to a payroll

audit and are therefore in breach of the CBA, Trust Agreement, and Collection Procedures.

       28.       Plaintiffs have no way of verifying, absent an audit, the number of hours worked

by covered employees. Therefore, unless Defendants submit to an audit, Plaintiffs have no way of

ascertaining the amount owed in delinquent contributions, late fees, and interest.

       29.       Because Defendants’ refusal to submit to a payroll audit is in violation of the CBA,

Trust Agreement, and the Collection Procedure, Plaintiffs are entitled to an order compelling

Defendant to submit to a payroll audit pursuant to ERISA § 502(g)(2)(E), 29 U.S.C. §

1132(g)(2)(E).

       WHEREFORE, Plaintiffs demand the following relief against Defendants:

       A.        An order compelling Defendants to submit to a payroll audit of its books and

records to determine the amounts owed to Plaintiffs for delinquent contributions, late fees, and

interest in an amount to be determined;

       B.        Judgment in favor of Plaintiffs and against Defendants for unpaid and delinquent

contributions owed by Defendants for the period of January 2018 to the present, in an amount to

be determined;

       C.        Judgment on behalf of Plaintiffs and against Defendants for accumulated interest

and late fees on untimely or delinquent contributions for the period of January 2018 to the present,

plus any additional interest accrued at the time of an entry of judgment, in an amount to be

determined;

       D.        Judgment on behalf of Plaintiffs and against Defendants for the costs of any and all

payroll audits needed to determine the amounts owed by Defendants;




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       E.     Judgment on behalf of Plaintiffs and against Defendants in the amount of unpaid

contributions which should accrue during the pendency of this action, as provided under ERISA §

502(g), 29 U.S.C. § 1332 (g)(2)(A);

       F.     Judgment on behalf of Plaintiffs and against Defendants for accumulated interest

and late fees on unpaid contributions which should accrue during the pendency of this action;

       G.     An award of attorney’s fees and costs incurred in connection with the collection of

the unpaid amounts as provided for by the terms of the CBA, Trust Agreements, Collection

Procedures, and ERISA § 502(g), 29 U.S.C. § 1332(g)(2)(D);

       H.     An Order retaining jurisdiction over this cause pending compliance with all Orders;

and

       I.     Any other legal or equitable relief which the Court deems just as provided for under

ERISA § 502(g), 29 U.S.C. § 1132(g)(2)(E).



                                             Respectfully submitted,

                                             LEDBETTER PARISI LLC

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